

ORDER

PER CURIAM:
AND NOW, this 9th day of May, 2000, Mark D. Caswell having been suspended from the practice of law in the State of New Jersey for a period of six months by Order of the Supreme Court of New Jersey dated March 23, 1999; the said Mark D. Caswell having been directed on June 15, 1999, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Mark D. Caswell is suspended from the practice of law in this Commonwealth for a period of six months, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
